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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                     )       CRIMINAL ACTION NO.
                                              )
       Plaintiff,                             )       3:19-CR-00507-L-1
                                              )
v.                                            )
                                              )
SEKHAR RAO,                                   )
                                              )
       Defendant.                             )
                                              )

                                   DEFENSE WITNESS LIST

       Defendant, Sekhar Rao, through undersigned counsel, hereby submits his initial witness

list and reserves the right to call anyone listed on the Government’s witness list.


 1       Sekhar Rao                                               Possible Fact Witness

 2       Dr. Santi Kommareddy                                     Possible Fact Witness

 3       Aleksandra Regan, PA                                     Potential Character Witness

 4       Don Mike Cortezano, RN                                   Potential Character Witness

 5       Maritess Purganon, RN                                    Potential Character Witness

 6       Roberto Lemus, RT                                        Potential Character Witness
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                                            Respectfully submitted,




                                            /s/ Franklyn Mickelsen
                                            Franklyn Mickelsen
                                            TX Bar No. 14011020
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                                            Attorney for Defendant
                                            Sekhar Rao
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                                CERTIFICATE OF SERVICE

       I, Franklyn Mickelsen, certify that on October 5, 2021, I caused the foregoing document to

be served by the electronic case filing system (ECF) on all counsel of record.



                                                            /s/ Franklyn Mickelsen
                                                            Franklyn Mickelsen
